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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


    DIAMOND SERVICES MGMT. CO., LLC, et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No. 21-mc-00036-TJK-ZMF
  KNOBBE MARTENS OLSON & BEAR, LLP et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Respondent Kenealy Vaidya LLP                                                                                 .


Date:          08/05/2021                                                                  /s/ Ajit Vaidya
                                                                                         Attorney’s signature


                                                                                 Ajit Vaidya (DC Bar No. 486031)
                                                                                     Printed name and bar number

                                                                                     KENEALY VAIDYA LLP
                                                                                   3050 K Street, NW, Suite 302
                                                                                      Washington, DC 20007
                                                                                               Address

                                                                                       avaidya@kviplaw.com
                                                                                            E-mail address

                                                                                          (202) 748-5903
                                                                                          Telephone number

                                                                                          (202) 748-5915
                                                                                             FAX number
